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INITIAL APPEARANCE MINUTES:


Time set:            2:30 p^.                             Date:                   August 30. 2017
Start Time:                                               Presiding Judge:        Robert .1. Krask
End Time:                                                 Courtroom Deputy:       Angle Forehand
                                                          Reporter:
Split Time           (   )                                U.S. Attorney:
                                                          Defense Counsel:
                                                          (   ) Retained (    ) Court appointed (    ) AFPD
                                                          Interpreter:
Case Number: 4:17cr76
USA V. ELMER EMMANUEL EYCHANER 111

                                                                                        FPoc^ppV oi^ .Uq:y1
                  Present ( ✓Custody ( ) not in custody
    .✓^^nitial Appearance (v/fIndictment ( )Probation Violation Petition ( )Supervised Release Petition
          (   ) Criminal Information ( ) Rule 5 arrest ( ) Rule 32 arrest (       ) Criminal Complaint
    yf Deft, advised ofrights, charges and right to counsel
    ..-.^Counsel desired ( ) Defendant to retain:
       ) Defendant's motion to substitute counsel
       ) Order to substitute counsel executed and filed in open court
    ../"^T^inancial Affidavit filed in open Court
          Court      ) Directed { ) Denied appointment of counsel
          Court directed defendant to reimburse govt. at rate of 5                     per month. Payments to begin and
          continue each month thereafter until paid in full.
          Defendant waived ( ) Removal ( ) Preliminary hearing (In this District only)
          Defendant executed Waiver of Removal Hearing { ) Waiver of Identity Hearing (In this District only)
          Waiver of Detention Hearing (In this District only)
          Commitment to Another District entered and filed in open court
          ( } Preliminary ( ) Removal Hearing set for                                      at.                  before
                                               U.S. Magistrate Judge in
          Preliminar>' Hearing                  ( ) Held ( ) Waived. (          ) Defendant stipulated to probable cause
      ) Court finds probable cause (     ) Defendant held for Grand Jury (       ) Defendant remanded to custody of
          U.S. Marshal for removal to charging district
          Government motion for Detention
      ),Government motion to withdraw motion for detention and set bond (           ) Granted                 ( ) Denied
          Detention Hearing scheduled for M- ^                    at -9'' C'U      ;     before OO       - r\r\ Qj-Cfc-x 9~
      ) Detention Hearing ( ) Held ( ) Waived in
        Temporary Detention Order entered and filed ( ) Detention Ordered Pending Trial
      ) Bond set at $
      ) Special Conditions of Release: (See Page 2)
    vO Deft, remanded to custody of U. S. Marshal
    ^.^.^Warrant returned executed and filed in open court
      ) Defendant is directed to appear on                               at                           for
          (   ) Arraignment (    ) SRVH (     ) PVH (   ) Bench
          Trial
          (   ) Norfolk (    ) Newport News
(     )
(     )
